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AO 470 (Rev, 01/09) Order Scheduling a Detention Hearing
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                                      United States District CouR|T                                      L...
                                                                     for the                        i                    COURT
                                                           Eastern District ofVirginia              '

                  United States of America
                                 V.                                            Case No. \       rV\^Vi)\^
\a\ie\\                                  Tdho?sor>
                             Defendant

                                         ORDER SCHEDULING A DETENTION HEARING



          A detention hearing in this case is scheduled as follows:

Place: United States District Court                                            Courtroom No.: 500, 5th floor
       401 Courthouse Square
         Alexandria, VA 22314                                                            ime: \
                                                                               Date and Time            2-         01-
          IT ISORDERED: Pending the hearing, the defendant is to be detained inthe custody ofthe United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.




Date:                                                                                                        /s/
                                                                                                    Ivan D. Davis
                                                                                            United States Magistrate Judge
